                            Case 3:17-cv-02119-SRU Document 36 Filed 06/13/18 Page 1 of 2
                                                                                                                          Rcltìrn date
WITHDRAWAL                                                     STATE OF CONNECTICUT
JD-CV-41 Rev.6-12                                                 SUPERIOR COURT                                          Nov-14-2017
                                                                           www.iud.ct.gov
Fill Out All Sections Below                                                                                                FBT-CV-1 7-6067570
       nl c;lsr:                         vt"

LAVIOLETTE, HENRY J Et AI V. CBS CORP. Et AI
                                                                                           of court lNurtbe¿ streel,
   Judicial                        Hotslng               {3aogrnpltinal
   Districi                  t_l   Sessr{)rt             Àraa nunther             1061 MAIN STREET BRIDGEPORT, CT 06604

Section I     ¡check onty one                  box) This Withdrawal is being filed because the dispute has been resolved by:
   L Court-Annexed ADR                                                     ll. Court lntervenlion
       411o8s ri:           Ëarly lntervention                                  41 1 098        Pretrial Conference
        41   1   0S0        Attorney Trial Referee                              41 1099    Trial Management Conference
        41   1   091        Fact-Finding                                        411100      Commencement of Trial    (court trial - fìrst witness sworn;
                                                                                                                      jury trial - trial iurors sworn)
        41 1093             Arbitration                                    lll. Private ADR
        41 '10s4            Mediation                                           411ß2
        41   1   095        Special Masters
                                                                                           f)   Provider Name:
                                                                           lV. Other
        4110e6         f]   Summary Jury Trial
                                                                                41 1 103        Discussion of Parties on Their Own
                                                                                41 5602         Unilateral Action of Party or Parties

Section ll Withdrawal
Dispositive             (Do not check the foltowing two boxes if any intervening complaints, cross complaints, counterclaims, or lhird party complaìnts
                        remain pending in lhis case. See below for partial withdrawal of action')

(wDACT)                fl   rhe prainriffs acrion is wTTHDRAWN AS          ro   ALL DEFENDANTs without costs to any            party'          lllillllililllllillllllllilllÏllil

(woARD)                fJ   A judsment has been rendered asainst the forrowins             Defendant(s):                                         lllilllilllllllllililìililil

                 and the Plaintiffls action is WITHDRAWN AS TO ALL REMAINI NG DEFENDANTS without costs
Partial
The following pleading(s), motlon(s) or other paper(s) in the case named above is or are wlthdrawn:
(WDcoMP) [ Complaint                                         (woMP)      Rtaintinls¡:           f]
(WDGoUNT) [ Counts of the complaint:
                                                             (WOAAD) $ Complaint against defendant(s):
 (WDlNTco)                                                                                             D.O7 PHELPS DODGE INBUSTRIES. INC.
                       f,   lntervening Complaint
                                                                                                                                                  only without costs
 (wDrHPC)              [    rniro Party complaint
                                                                                  (woM) f            Motion:
 (wAPPcoM)                  Apportionment ComPlaint
 (wDcc)                     Cross Complaint (cross claim)
                                                                                                f    other:

 (Woc)                 []   Counterclaim
 Signature Required
 Party p'91 HENRY J LAVIoLETTE                                              ;By EARLY Ly_qâRE!-Ll SWEENEY & MEISE"NKSITIIEN
 PaTIy p-92 LUCINDA DERACHEMONT LAVIOLETTE                                  ;By EARLY LUCARELL¡ SWEENEY & MEISENKOTHEN
                                                                                                                                                     AttomÊv or Self-
 Party                                                                      ;By                                                                      repre5onted Parly
                                                                                                                                                     Atlorn€v or $elf-
 Party                                                                      ;By                                                                      representod Party
 Name &                      CHR¡STOPHER MEISENKOTHEN
 .Address >
 of Sþner:                   265 Church Street, 11th Floor, New Haven, CT 06510

 Sectionlll Certification                                                                                                              Ðec-13-2017
 I certify that a copy of this document was mailed or delivered electronically or non-electronically on (date)
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  DAY PITNEY LLP - 2|?TRUMBULL STREETIHARTFORD, CT 06103
 .tf                   attach addit¡onal sheet or sheets with name and address which the copy was mailed or delivered to.
                                                             or     name    person                                       Þd,l6t¡Srùd

  Þ tttstz                                               CHRISTOPHER MEISENKOTHEN                                         Dec-1 3-201 7
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  ONE CENTURY TWR 11TH FL., 265 CHURCH ST. NEW HAVEN, CT 065IO                                                            2037777759
              Case 3:17-cv-02119-SRU Document 36 Filed 06/13/18 Page 2 of 2
                        Continuation of JDGV41 Withdrawal for FBT-GV-XX-XXXXXXX-5
                  Submitted By EARLY LUCARELLISWEENEY & MEISENKOTHEN L (409080)
                              Certification of Service (Gontinued from JDCV41)
Name and Address at which service was made:

HALLORAN & SAGE - 315 POST ROAD WEST/VVESTPORT, CT 06880

ROBERT MARTIN - 1O BANK STREETMHITE PLAINS, NY 10606

JONATHAN TABASKY - 125 HIGH STREET/OLIVER ST. TOWER,6TH FL/BOSTON, MA 0211A

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ADLER POLLOCK & SHEEHAN PC - ONE CITIZENS PLAZA/BTH FLOOR/PROVIDENCE, RI 02903

MICHAEL MCVINNEY. 125 HIGH STREET/oTH FLOOR/BOSTON, MA 0211A


                                   *oi** End of Gertification of Service   ***
